   Case 25-13692-VFP                Doc 8 Filed 05/04/25 Entered 05/05/25 00:15:55                               Desc Imaged
                                         Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 25−13692−VFP
                                         Chapter: 13
                                         Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Tanya S. Fernandes Correia
   347 Edgewood Road
   Linden, NJ 07036
Social Security No.:
   xxx−xx−0065
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 5/2/25.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: May 2, 2025
JAN: jf

                                                                 Jeanne Naughton
                                                                 Clerk
       Case 25-13692-VFP                      Doc 8 Filed 05/04/25 Entered 05/05/25 00:15:55                                            Desc Imaged
                                                   Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 25-13692-VFP
Tanya S. Fernandes Correia                                                                                             Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 02, 2025                                               Form ID: 148                                                               Total Noticed: 6
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 04, 2025:
Recip ID                 Recipient Name and Address
db                     + Tanya S. Fernandes Correia, 347 Edgewood Road, Linden, NJ 07036-5319

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        May 02 2025 20:45:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        May 02 2025 20:45:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
520615038                 Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        May 02 2025 20:48:33      LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                                  PO Box 10587, Greenville, SC 29603-0587
520627955                 Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        May 02 2025 20:48:32      MERRICK BANK, Resurgent Capital Services,
                                                                                                                  PO Box 10368, Greenville, SC 29603-0368
520615039                 EDI: Q3G.COM
                                                                                        May 03 2025 00:24:00      Quantum3 Group LLC as agent for, Concora
                                                                                                                  Credit Inc., PO Box 788, Kirkland, WA
                                                                                                                  98083-0788

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 04, 2025                                            Signature:           /s/Gustava Winters
       Case 25-13692-VFP                   Doc 8 Filed 05/04/25 Entered 05/05/25 00:15:55                                      Desc Imaged
                                                Certificate of Notice Page 3 of 3
District/off: 0312-2                                              User: admin                                                            Page 2 of 2
Date Rcvd: May 02, 2025                                           Form ID: 148                                                          Total Noticed: 6

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 2, 2025 at the address(es) listed below:
Name                             Email Address
David Chapman
                                 on behalf of Debtor Tanya S. Fernandes Correia chapmanlaw646@gmail.com

Marie-Ann Greenberg
                                 magecf@magtrustee.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 3
